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                      6   Sakura Miyawaki, et al.
                      7
                                                 UNITED STATES DISTRICT COURT
                      8
                      9                       NORTHERN DISTRICT OF CALIFORNIA
                 10
                                                             SAN JOSE DIVISION
                 11
                 12       In re Ex Parte Application of         ) CASE NO. 5:24-mc-80189
                 13                                             )
                          Sakura Miyawaki, Chae-won Kim,        ) [PROPOSED] ORDER GRANTING
                 14       Jennifer Yunjin Huh, Kazuha Nakamura, ) APPLICANTS’ EX PARTE
                          and E.C.H.,                           ) APPLICATION FOR AN ORDER
                 15                                             ) PURSUANT TO 28. U.S.C. § 1782
                                 Applicants.                    ) AUTHORIZING DISCOVERY FOR
                 16                                             ) USE IN A FOREIGN CIVIL
                 17                                             ) PROCEEDING
                                                                )
                 18                                             )
                 19
                 20
                 21                                          [PROPOSED] ORDER

                 22              This matter comes before the Court on the Applicants’ Ex Parte Application for an Order

                 23       Pursuant to 28. U.S.C. § 1782 Authorizing Discovery for Use in a Foreign Civil Proceeding

                 24       (“Application”), which requests discovery from Google LLC in connection with a pending civil

                 25       matter in the Republic of Korea.

                 26              The Court, having fully considered the Application, and good cause appearing,

                 27       HEREBY GRANTS the Application.
STREAM|KIM
ATTORNEYS AT LAW 28       [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR AN
3403 TENTH STREET,
      STE 700
RIVERSIDE, CA 92501
                          ORDER PURSUANT TO 28. U.S.C. § 1782 AUTHORIZING DISCOVERY FOR
    951-783-9470          USE IN A FOREIGN CIVIL PROCEEDING
                 25
                            Case 5:24-mc-80189-PCP Document 1-3 Filed 07/30/24 Page 2 of 2




                      1           IT IS HEREBY ORDERED that:

                      2            1.      The Applicants are authorized to issue and serve a subpoena on Google LLC for

                      3 the production of documents in the same form as the proposed subpoena attached as Exhibit A to
                      4 the Application.
                      5            2.      This Order is limited to the Applicants’ request for documents from Google LLC

                      6 in aid of their Korean civil proceeding.
                      7            3.      The Applicants’ counsel must serve Google LLC a copy of this Order and all

                      8 papers upon which it was based together with the subpoena.
                      9            4.      Google LLC shall respond to the subpoena for the production of documents

                 10 within fourteen (14) days of service of the subpoena and as required under the Federal Rules of
                 11 Civil Procedure and the Local Rules of the United States District Court for the Northern District of
                 12 California. Google LLC shall have thirty (30) days from the date of service of the subpoena to file
                 13 a motion to quash or modify the subpoena.
                 14                5.      Absent a motion filed by Google LLC, or an objection or motion for protective

                 15 order filed prior to the expiration of Google’s 21-day notice period regarding the Application or
                 16 subpoena served on Google, in response to the subpoena, Google LLC shall produce the
                 17 information requested by the subpoena, to the extent it is available.
                 18                6.      This Order does not require Google LLC to disclose any information that would

                 19 be inconsistent with its obligations under federal laws including, but not limited to, the Stored
                 20 Communications Act.
                 21                7.      The Court hereby retains jurisdiction over this matter.

                 22
                 23        IT IS SO ORDERED.

                 24
                 25        Dated: _________________                              __________________________

                 26
                 27
STREAM|KIM
ATTORNEYS AT LAW 28        [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR AN
3403 TENTH STREET,
      STE 700
RIVERSIDE, CA 92501
                           ORDER PURSUANT TO 28. U.S.C. § 1782 AUTHORIZING DISCOVERY FOR
    951-783-9470           USE IN A FOREIGN CIVIL PROCEEDING
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